

People v Allen (2022 NY Slip Op 04102)





People v Allen


2022 NY Slip Op 04102


Decided on June 23, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 23, 2022

Before: Renwick, J.P., Kern, Kennedy, Mendez, Higgitt, JJ. 


Ind No. 1178/16 2604/16 Appeal No. 16179 Case No. 2019-2895 

[*1]The People of the State of New York, Respondent,
vCorey Allen, Defendant-Appellant. 


Robert S. Dean, Center for Appellate Litigation, New York (Matthew W. Christiana of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Meghan McLoughlin of counsel), for respondent.



Appeal from judgment, Supreme Court, New York County (Curtis J. Farber, J.), rendered January 31, 2019, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the third degree and failure to verify address information, and sentencing him, as a second felony offender, to concurrent terms of two to four and one to three years, respectively, held in abeyance in accordance with this decision.
Defendant's challenges to Correction Law 168-f (3) as unconstitutionally vague and unconstitutional as applied to his situation are unpreserved for our review (see People v Baumann &amp; Sons Buses, Inc., 6 NY3d 404, 408 [2006]). However, we exercise our power to review those challenges as a matter of discretion in the interest of justice (see CPL 470.15 [6] [a]).
Defendant is directed to present to this Court proof of service on the Attorney General of the State of New York of the pendency of this appeal and the fact that the constitutionality of Correction Law § 168-f(3) has been brought into question (see Executive Law § 71[1]; People v Montane, 46 AD2d 617 [1st Dept 1974]). The Attorney General is granted permission to appear in this appeal.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 23, 2022








